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                                   EXHIBIT 1
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Document title:                  National Collegiate Athletic Association - Press Release Archive

Capture URL:                     http://fs.ncaa.org/Docs/PressArchive/2005/Announcements/NCAA%2BExecutive
                                 %2BCommittee%2BIssues%2BGuidelines%2Bfor%2BUse%2Bof%2BNative
                                 %2BAmerican%2BMascots%2Bat%2BChampionship%2BEvents.html

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                                 Gecko) Chrome/106.0.5249.91 Safari/537.36

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                                   National Collegiate Athletic Association



                     NCAA Press Release Archive




                         NCAA News Release


                         NCAA Executive Committee Issues Guidelines for Use of Native American                                        Mascots
                         at Championship Events


                         For Immediate Release                                                                                                         Contact(s)
                                                                                                                                                       Bob Williams
                         Friday, August 5 , 2005                                                                                                       Managing Director of Public and Media
                                                                                                                                                       Relations
                                                                                                                                                       317/917-6117




                         INDIANAPOLIS -- The presidents and chancellors who serve on the NCAA Executive Committee have adopted a new policy to prohibit NCAA colleges and
                         universities from displaying hostile and abusive racial/ethnic/national origin mascots, nicknames or imagery at any of the 88 NCAA championships.

                         The Executive Committee, meeting Thursday in Indianapolis, also approved recommended         best practices for schools who continue to use Native American mascots,
                         nicknames and imagery in their intercollegiate athletic programs.

                         "Colleges and universities may adopt any mascot that they wish, as that is an institutional matter," said Walter Harrison, chair of the Executive Committee and
                         president at the University of Hartford. "But as a national association, we believe that mascots, nicknames or images deemed hostile or abusive in terms of race,
                         ethnicity or national origin should not be visible at the championship events that we control."

                         The policy prohibiting colleges or universities with hostile or abusive mascots, nicknames or imagery from hosting any NCAA championship competitions takes effect
                         February 1, 2006.

                         "The NCAA objects to institutions using racial/ethnic/national origin references in their intercollegiate athletics programs," said NCAA President Myles Brand. "Several
                         institutions have made changes that adhere to the core values of the NCAA Constitution pertaining to cultural diversity, ethical sportsmanship and nondiscrimination.
                         We applaud that, and we will continue to monitor these institutions and others. All institutions are encouraged to promote these core values and take proactive steps
                         at every NCAA event through institutional event management to enhance the integrity of intercollegiate athletics related to these issues."

                         Other elements of the policy approved Thursday require that institutions with hostile or abusive references must take reasonable steps to cover up those references at
                         any predetermined NCAA championship site that has been previously awarded, effective February 1, 2006.

                         Institutions displaying or promoting hostile or abusive references on their mascots, cheerleaders, dance teams and band uniforms or paraphernalia are prohibited
                         from wearing the material at NCAA championships, effective August 1, 2008.

                         Last, and effective immediately, institutions with student-athletes wearing uniforms or having paraphernalia with hostile or abusive references must ensure that those
                         uniforms or paraphernalia not be worn or displayed at NCAA championship competitions.

                         Harrison stressed that institutions affected by the new policy can seek further review of the matter through the NCAA governing structure.

                         The committee also strongly suggested that institutions follow the best practices of institutions that do not support the use of Native American mascots or imagery.
                         Model institutions include the University of lowa and University of Wisconsin, who have practices of not scheduling athletic competitions with schools who use Native
                         American nicknames, imagery or mascots.

                         Additionally, the committee suggested that institutions should review their publications and written materials for hostile and abusive references and remove those
                         depictions, which is the current policy of the NCAA National Office.

                         Last, member institutions are encouraged to educate their internal and external constituents on the understanding and awareness of the negative impact of hostile or
                         abusive symbols, names and imagery, and to create a greater level of knowledge of Native American culture through outreach efforts and other means of
                         communication.

                         The recommendations stemmed from discussions in June at the NCAA Minority Opportunities and Interest Committee (MOIC) meeting in Boston. Those
                         recommendations were forwarded to the Executive Committee Subcommittee on Gender and Diversity Issues earlier this week. The subcommittee then forwarded its
                         recommended changes to the Executive Committee, which is the highest ranking committee in the NCAA governance structure.

                         Three events prompted initial discussion on mascots within the Association in April 2001-membership feedback; ongoing issues surrounding the Confederate Battle
                         Flag; and the U.S. Commission on Civil Rights" statement on the use of American Indian imagery as sports symbols.

                         In November 2004, 33 schools were asked to submit self evaluations to the NCAA National Office to determine the extent, if any, of the use of Native American
                         imagery or references on their campuses. Specific aspects of the self evaluations centered on three NCAA Constitution principles that reference cultural diversity and
                         gender equity (Article 2.2.2); the principle of sportsmanship and ethical conduct (Article 2.4); and the principle of nondiscrimination (Article 2.6).

                         Eighteen colleges and universities continue to use Native American imagery or references and are subject to the new policy:

                              e Alcorn State University (Braves)
                                Central Michigan University (Chippewas)
                                Catawba College (Indians)
                                Florida State University (Seminoles)
                                  Midwestern State University (Indians)
                                  University of Utah (Utes)
                                  Indiana University-Pennsylvania (Indians)
                                  Carthage College (Redmen)
                                  Bradley University (Braves)
                                  Arkansas State University (Indians)
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               Case: 1:21-cv-06546 Document #: 70-4 Filed: 11/08/22 Page 4 of 4 PageID #:851
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                                 University of Utah (Utes)
                                 Indiana University-Pennsylvania (Indians)
                                 Carthage College (Redmen)
                                 Bradley University (Braves)
                                 Arkansas State University (Indians)
                                 Chowan College (Braves)
                                 University of Illinois-Champaign (Illini)
                                  University of Louisiana-Monroe (Indians)
                                  McMurry University (Indians)
                                  Mississippi College (Choctaws)
                                  Newberry College (Indians)
                                  University of North Dakota (Fighting Sioux)
                                e Southeastern Oklahoma State University (Savages)

                         Fourteen schools have removed all references to Native American culture or were deemed not to have references to Native American culture as part of their athletics
                         programs: California State-Stanislaus University; Lycoming College; Winona State University; Hawaii-Manoa University; Eastern Connecticut State University; East
                         Stroudsburg University; Husson College; Merrimack College; Southeast Missouri State University; State University of West Georgia; Stonehill College; San Diego
                         State University; Wisconsin Lutheran College; and the University of North Carolina-Pembroke.

                         The College of William and Mary has been given an extension to complete its self-study on the mascot issue.

                         In other action from the Executive Committee, members     updated the Association's alcohol policy, recommending that member colleges and universities review a
                         number of suggested actions.

                         "As college presidents, we are very concerned about the use of alcohol on our campuses and the abuse of it by our students and in society at large," Harrison said.

                         The suggestions include prohibiting the sale of alcohol during all college sports events (preseason, regular season, conference and postseason); encouraging fans to
                         drink responsibly and legally outside stadiums or arenas; and prohibiting onsite alcohol advertising during all college sports events, taking into account contractual
                         issues already in place with advertisers.

                         The revised policy also suggests prohibiting media advertising of alcohol that exceeds six percent of alcohol by volume; and limiting advertising of malt beverages,
                         beer and wine products. Such ads should not comprise more than 60 seconds per broadcast hour, two minutes during any game telecast and no more than 14
                         percent of a game program or publication, and they should include tag lines such as "Drink Responsibly" and "Be Legal."

                         Furthermore, the alcohol policy calls for NCAA colleges and universities to provide programs and resources for education, prevention and treatment of alcohol abuse.

                         The NCAA has for years banned sales and advertising of all alcohol at its 88 championships. The association also limits broadcast advertising during championships
                         to not more than 60 seconds per broadcast hour and two minutes in any championship telecast or broadcast. Many of the alcohol ads contain language stressing the
                         legal and responsible use of alcohol.

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